

People v Green (2021 NY Slip Op 02503)





People v Green


2021 NY Slip Op 02503


Decided on April 27, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 27, 2021

Before: Gische, J.P., Kern, Mazzarelli, Kennedy, JJ.


SCI No. 820/17 Appeal No. 13671 Case No. 2018-5542 

[*1]The People of The State of New York, Respondent, 
vTerrell Green, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (David J. Klem of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Christopher Michael Pederson of counsel), for respondent.



Judgment, Supreme Court, Bronx County (Marsha D. Michael, J. at plea; Linda Poust Lopez, J. at sentencing), rendered May 23, 2017, convicting defendant, upon his plea of guilty, of assault in the second degree, and sentencing him to a term of one year, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the mandatory surcharge and crime victim assistance fee, and otherwise affirmed.
Based on the People's consent, and pursuant to our own interest of justice powers, we waive the surcharge and fee imposed at sentencing (see People v Chirinos, 190 AD3d 434 [1st Dept 2021]). We find it unnecessary to reach any other issues.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 27, 2021
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